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EXHIBIT G

 

Page 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

- SOUTHERN DIVISION -
CONSTANCE COLLINS, et al. )
Plaintiffs )

)}Case No:

Vv. )# 1:30-CV-01225

TRI-STATE ZOOLOGICAL
PARK OF WESTERN
MARYLAND, INC., et al.

Defendants

Virtual Zoom Deposition of DR. KEITH GOLD
Baltimore, Maryland
Thursday, July 22, 2021
12:10 p.m.

Reported by: Brianne M. Wallner

 

 

 

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Page 2

Virtual Zoom Deposition of DR. KEITH GOLD,

held at the offices of:

Video Conference
VIRTUAL ZOOM

Baltimore, Maryland 21201

Pursuant to notice, before
Brianne M. Wallner, Shorthand Reporter and Notary
Public in the State of Maryland via Virtual Zoom

with Counsel for Plaintiffs.

 

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Page 3

A P PEARANCE 5

ON BEHALF OF PLAINTIFFS:
ZEYNEP GRAVES, ESQUIRE and
CAITLIN HAWKS, ESQUIRE

PETA FOUNDATION

2154 West Sunset Boulevard
Los Angeles, California 90026
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(Via Virtual Zoom)

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(Via Virtual Zoom)

 

 

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PROCEEDINGS

MS. REPORTER: The attorneys participating
in this deposition acknowledge that I am not
physically present in the deposition room, and
that I will be reporting this deposition
remotely.

They further acknowledge that, in lieu of
an oath administered in person, I will
administer the oath remotely.

The parties further agree that if the
witness is testifying from a state where I am
not a Notary, that the witness may be sworn in
by an out-of-state Notary.

If any party has an objection to this

manner of reporting, please state now.
[NO RESPONSE. ]

MS. REPORTER: Hearing none, we can
proceed.

DR. KEITH GOLD, having been duly
Sworn, testified as follows:

EXAMINATION BY COUNSEL FOR PLAINTIFFS:

 

 

 

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Page 7
BY MS. GRAVES:

Q My name is Zeynep Graves, counsel for
plaintiff People for the Ethical Treatment of
Animals, Inc. and Constance Collins. I'm joined by
my colleague, Caitlin Hawks, from the PETA
Foundation, who is also counsel for plaintiff.
Today we are resuming the deposition of Dr. Keith
Gold, which was held open on July 15th, 2021.

Dr. Gold, as a reminder, your answers will be given

under oath, subject to penalty of perjury, the same

as if you were testifying in a courtroom. Do you
understand?

A Yes.

Q And as a reminder, if at any time today

you don't understand one of my questions, please
tell me, I will either explain it to you or rephrase
the question. If you answer my question without
asking for clarification, I take that to mean you
understood it.

A Okay.

Q And to ensure we get a complete and clear

 

 

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Page 21
Q Did you assess her diet?
A No.

(Exhibit 106 was marked for identification.)

BY MS. GRAVES:

0 I've marked Exhibit 106.

A I have it.

Q Do you recognize these documents?

A Yes.

Q How are you able to recognize them?

A They are from our hospital.

Q And what are they?

A They are records for an arctic fox named
Rocket.

Q When did Mr. Candy first contact you about
Rocket?

A I'm not sure. He came in on 6/12 and

actually I wasn't there that day, so my other

veterinarian saw Rocket with an injury to his paw or

his foot.
Q Are these your exam notes on --
A No, these are Dr. Haskin's.

 

 

 

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Q And are you able to read your colleague's
notes --

A Yes, absolutely. So exam possible broken
paw, Ketace 1 cc IM, that's an anesthetic,
isoflurane maintenance. General sedated body
condition score three out of five. Ear, eyes, nose
and throat within normal limits. Heart and lungs
within normal limits. Abdomen nonspecific findings.
Two testicles palpated. Large wounds,
circumferential around carpus of the left front paw,
foot. Assessment is a wound. Plan was a clip and
clean. Rads, x-rays, no fracture evident. Bone
density observed by surrounding inflammation,
osteomyelitis, recommended debridement of wound and
bandage placement. Will need re-sedation and
bandage change Monday. Regular bandage change every
two to three days. Surgery, all dead/necrotic
tissue debrided. Distal/dorsal area, approximated
with 20 Monocryl, two layers. Rest of wound needs
to heal by second attention. Bandage placed,

Xeroform applied to wound, followed by cotton gauze

 

 

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and vetrap. Plan, BupSR, that's a long acting
Buprenorphine, Clavamox .6 cc's, PO BID. Food and
water, BID, will need rabies tech to treat, because
it did not have any vaccine. Do you want me to keep
going down the page here?

0 Yes, please.

A Okay. 6/13 BAR, bandage intact, eating
well, cute. 6/14 fecal coccidia positive. 6/18
bandage changed, Ketace .5 IM, bandage intact, but
foul odor. Bandage has foul smelling exudate under
that wrapped layer. Cleaned wound with wound care
wash. Scrubbed fur with ChlorHex, replied Xeroform
with very thin layer of hydrogel and thick cotton.

Recommend recheck change bandage Saturday, distemper

plus one given left hip 8Q. You want me to keep on
going?

Q And if you could just skip down to the
last -- page 4 of Exhibit 106 and read the note from
6/29/20.

A Okay, bandage change, recheck one week,
hand out on bandage care. On 7/6 bandage change,

 

 

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remove bandage, two red spots left. Recheck two
weeks for vaccines.

0 And are those your notes from 6/29 and
7/6?

A Yes.

Q Dr. Gold, you mentioned radiograph and
PETA didn't receive any radiographs from the
documents produced from your office. I'll add that
to the list of items that we'd ask you to produce.

A Okay. That's no problem.

0 And you noted all dead necrotic tissue,
what does that mean?

A You're talking about the very beginning
here? Dead means, you know, basically tissue that
has died off. Necrotic means the same thing
actually, so it's kind of redundant. Let's see
where was that?

Q On page 1 of Exhibit 106.

A Okay. So it means all dead and necrotic
tissue was removed. So the wound had some, you

know, wasn't healthy. And it was an open wound and

 

 

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you always have -- a wound that's infected will have
dead tissue involved with it.

0 Would a fresh wound have dead or necrotic
tissue?

A Yeah, it can. It can. It depends on how
big the wound is and how damaged the tissue is.
Sometimes it takes a couple of days for tissue to
die off. But it can be necrotic and dead just from
the initial injury.

Q Go down to CAHOOO0061, page 5 of Exhibit

106. Was Rocket discharged with any medication?

A What's that?
Q Was Rocket discharged with any medication?
A Let's see on 6/29, it may have been all

healed up at that point. Let's see, yeah, it was

all healed up at that point. Keep it covered for a

couple more days. She was done with all of her
medication.
0 And what medication, if you haven't

mentioned it already, was Rocket provided for pain?

A Well, Ketamine had some pain medication in

 

 

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it. The Xeroderm has some local affect properties.
I'm not sure what else -- so on the treatment sheet,

if you go down to 000063. I can't read that, let me
see. Antibiotics called Albon for the coccidia,
that's an okay antibiotic, was also on Clavamox as
an antibiotic. So it was treated with medication
while it was here. It was sedated for the bandage
changes, which provides some analgesia. And BupsR

is a long-acting morphine, that is a long-acting

pain med -- pain shot, it lasts three days. So that
was the pain medication. Buprenorphine SR.
Q And that's noted on page 8 of Exhibit 106?
A It's noted on the treatment sheets.

What's the page 8 number?
Q CAHOOO063.
A 63. No, I saw it on -- where did I see

it? No, it's on page 00066.

Q Do you know what caused Rocket's injury?

A I heard he tried to dig out from under a
fence.

0 And that was while Rocket was at

 

 

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Tri-State?
A Yes. I think he was a new
acquisition that -- story that I was told that a vet

tech from somewhere else bought him, couldn't keep
him, wasn't allowed to. So he or she turned the
puppy into the -- or it was a kit, into the zoo for
care. And apparently he tried to dig out of an
enclosure and tore his leg. Puppies will be puppies
or babies will be babies.

(Exhibit 107 was marked for identification.)
BY MS. GRAVES:

Q I've marked Exhibit 107. Do you recognize

this document?

A I'm pulling it up. Yes.

Q And how are you able to recognize it?

A It's from our hospital.

0 What is it?

A It's a vaccination for rabies.

Q Did Rocket ever receive any rabies
boosters?

A Not yet. That was done -- not due until

 

 

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12 -- that was done 6/29/20, he gets a booster
6/29/21. That was really a year ago. Yeah, so he's

due for a booster.

Q Did Rocket receive any other vaccines?

A I think he received a distemper vaccine.

0 And is that documented somewhere?

A It should be. I thought I saw it on here.

Yeah, on June 18th, 2020.

Q And what type of system or vaccine was
provided to him?

A Let me see what that was. I can't tell

from the photocopy, it's too dark.

Q What page are you looking at?
A 00057.
Q Do you know if Rocket was examined or

treated for ectoparasite?

A He was examined. We didn't see any
ectoparasites. Yeah, he was given no vac, DDP PV,
that's what it says on the vaccine on 6/18, no vac.

Q You noted Rocket's body condition score

was three out of five. Did your office ever get a

 

 

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weight on him?

A Yes, I'm sure we had a weight on him.
5 pounds, 6 ounces.

Q Where is that reported?

A When he first came in.

0 Is that on Exhibit 106°?

A Yes, 00056, first page.

Q Did your office do any blood work while
Rocket was sedated?

A No.

Q Why not?

A Because he's a puppy and he came with a
wound, and didn't need any blood work done.

Q And is the sedation protocol documented on
Exhibit 106?

A Yes, that was the Ketace, the common drug

we use for animals that are difficult to handle, it
was a drug combination actually. And then it was
maintained isoflurane.

Q And you mentioned a fecal had been done on

6/14/2020, was this the only time you screened

 

 

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Rocket for parasites?

A That's the only time we did a fecal
sample, yes.

Q And what treatment was provided for the
coccidia?

A What treatment was provided for what?

0 Coccidia.

A Oh, coccidia, that was Albon, that's the
treatment for coccidia.

Q Did you ever assess Rocket's enclosure?

A I saw it when I went up there in October.

Q Can you describe his enclosure?

A Screened in enclosure, natural ground, has
a couple places for it to hide, has some toys in it
and a cave and kind of like a little tower in there
that he liked to climb up into. That's all I
remember.

Q Do you recall what kind of toys he had in
his enclosure on your visit?

A I think he had a stuffed animal and I

think there was a ball or two in there.

 

 

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10/11/20.

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Did you ever make any recommendations to

Mr. Candy regarding Rocket's enclosure?

A We talked about the enclosure. Obviously
we were aware that the dog tried to dig out. But
otherwise, it looked pretty decent.

Q What did you discuss with Mr. Candy?

A I don't recall.

Q Did you assess Rocket's diet?

A Yes, I think Rocket was on -- I think

Rocket was on puppy food. At that point Rocket was
still a puppy, so he was on -- I don't remember the

brand or anything, but he was on puppy food.

Do you know how much he was fed?
No.

Or at what frequency?

No.

On page 5 of Exhibit 106, Bates

No. CAHOOO60. The last entry for Rocket is dated

Uh-huh.

Is that the last time you saw Rocket?

 

 

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Page 32
A The last time he was at the hospital, yes.
Q Rocket was at the hospital on
October l1lth, 2020?
A Oh, no, no, no, no. That was at the
facility. That was -- last time I saw him at the

hospital was when we rechecked the leg the last time
and he had a second distemper shot, that was on
7/21/20. So yeah, so 10/11/20 he was doing well,

looked great, we just observed him from his

enclosure.
Q So you didn't --
A No, no, outside of his enclosure, yes.
Q And how did you determine he was doing
well?
A He was actually playing with the staff.

He was a happy puppy or a happy little fox. His
hair grew back. You couldn't even tell where the
wound was. Healed great. He looked like he was
thriving. So just by observations.

Q Dr. Gold, I'm going to go into -- so we're

going to go into a folder labeled deposition of

 

 

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Keith Gold DBM 7/15/2021. And if you open
Exhibit 88 and go to page 9 of Exhibit 88.

A What is the CAH number?

Q 00127.

A Okay, it's a text. Okay, I'm there.

Q I'm going to just read Mr. Candy's text
into the record. "Hi, Deb. Hope you had a good
weekend. If I may, a couple of quick questions.

Number one, somehow good old Rocket decided to stick
his leg through to play with the porcupine, got
about 10 quills in his leg around the fence, none in
his paw though. I used some lidocaine to
temporarily numb and removed all of the quills,
hopefully. Small limp, but improving. Doesn't seem
to stop him from bouncing. Should I do anything
else?" Did you ever examine Rocket after Mr. Candy
informed your staff on November 16th, 2020 that he
had removed porcupine quills from Rocket's leg?

A No.

(Exhibit 108 was marked for identification.)

BY MS. GRAVES:

 

 

 

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0 I've marked Exhibit 108.

A Okay, I have it.

Q Do you recognize these documents?

A Yes.

Q How are you able to recognize them?

A They're from the hospital.

Q And what are they?

A They are records on Dodger.

Q When did Mr. Candy first contact you about
Dodger?

A He probably contacted my front staff and
asked if he can bring a monkey up here. That was
the first time we actually met him. So it must have

been on the 12th or around the 12th of 2019.

Q The 12th of February of 2019?
A Yes.
Q And when did you first determine that

Dodger had suffered from a severe dog bite?
A When I examined him.
Q And can you read your notes on CAHO0009

and 10 into the record, please?

 

 

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A Yeah. Let's see, checkup ADR, which means

[inaudible] to right, check hands/sores. And then
outdoor and indoor enclosure, noticed a little over
a week ago. Picking at fingers, appetite/thirst
decreased. Put coconut oil on food, biscuits,
giving Ensure, Powerade, coconut water, water.
Never handled outside of cage. So H/S is blood
work. We sedated him with Ketamine .3 ccs and .2
ccs, and then kept him under anesthesia with
isoflurane, examined him, obviously got the blood
drawn, gave him a tetanus shot. And SX is surgery,
on all four feet, severe frostbite. All toes except
both thumbs on back legs and both thumbs front legs,
all 16 toes were divided and closed with Monocryl.
Laser therapy was given and bandaged.

Q We can stop there for a second. So all 16

digits were amputated?

A Were partially amputated, yes.

Q And can you describe their condition?
A They were necrotic from frostbite.

Q And aside from the weight, did you take

 

 

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any of Dodger's vitals?

A He was monitored during anesthesia, of
course. And then we also did blood work. And yeah,
under anesthesia, he was on an EKG and he hada

pulse ox.

0 And were those numbers recorded?

A No.

Q And why not?

A We don't record those numbers.

Q And did you have supplemental oxygen

available while Dodger was under sedation?

A Well, when he's on isoflurane, that is
only given through oxygen. It's a gas anesthetic.
So he was on oxygen with isoflurane, that's the only

way it works.

Q And was there a written emergency plan?
A In what way?
Q Did you have a written emergency plan for

while Dodger was under sedation?
A We have plan protocols, yes, for every

animal that is under anesthesia. It's not a written

 

 

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plan. Each animal is completely different, each
emergency is different. We have certain protocols.

Q Understood. And can you continue reading
your note from CAH9 at the bottom?

A RX Clavamox 1 cc twice a day for 14 days,
two bottles. Metacam .25 ccs once a day for 10

days, 5 mls, that's 1.5 milligram per mil.
Gabapentin .3 ccs twice a day for 30 days, 30 mils.
Treatment plan, food and water twice a day, two to
three monkey biscuits, fruits and veggies. Ketace
1.35 cc IM, change old bandages -- oh, that's the
next day. So on 2/13/19, we sedate him again and
change all of the bandages.

Q And can you please read your notes from --
Starting at 2/22/19 into the record?

A Recheck, X off the box, bandages on feet,
on back feet still, got bandages on hands off, not
really picking at them very much. No meds or foods
this a.m. because we're sedating him again, .35 ccs.
His weight was 7 pounds 9 ounces and exam that

Showed all of his feet were healing well. Do you

 

 

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want me to do 2/27 as well?
Q Yeah, just your notes, if you wouldn't
mind.
A Ketace .35 ccs and did rabies shot then.
9° And also your notes on 8/17/20.
A 8/17/20. Tetanus, TB right eye, HS is

blood work. PE bald spot on tail based dorsal,
chest old scar; heart, lungs good; abdomen within
normal limits. He got a rabies shot then as well

and got Ketace .5 ccs.

Q If we go down to --

A His --

Q Sorry, go ahead.

A His weight was 7 pounds 13 anda half
ounces.

Q If we go down --

A Go down.

Q -- CAHOO0012, page 4 of Exhibit 108.

A Got it.

Q There's a note regarding Dodger's coat,

can you describe to us Dodger's coat?

 

 

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A Dodger's coat, thin coat and alopecic
tail, that means his coat was not as thick as we
like it to be and he had a hair loss at the base of
his tail, which I think he's always had from my
understanding, that hair loss, so that hair loss
will probably never come back.

Q Did you try to determine the cause of the
alopecia or thin hair coat?

A Well, the thin hair coat is most likely
age related. There are no signs of any parasites or
anything like that. He wasn't pruritic or anything
like that. So most likely it was age related, that

could happen as they get older.

Q Did you rule out bacterial or fungal
infection?

A Yeah, there's no evidence of any of that.

Q And did you rule out atopic dermatitis?

A Yeah, there's no evidence of that either.

Q And did you screen him for ectoparasites?

A Yes, there's no evidence of ectoparasites.

Q And how about endoparasites?

 

 

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A We didn't do a fecal then. No, not on the
parasites.

Q Did you provide Dodger with any dental
care while he was under sedation?

A A lot of times we do, but it looks like
his teeth were in pretty good shape, a little bit of

tarter, so we probably did not mess with his mouth

for the general exam. Usually dental is a separate
procedure.
0 Go to the next page, CAHO0013, who drafted

this document?

A You mean who wrote it?

0 Yeah.

A Is that what you mean?

0 Yeah.

A I probably wrote that. I wrote that.

Q What sources did you reference when you

wrote this document?
A There's a primate care manual, I don't
remember who wrote it. That's one. Fowlers Wild

Animal Medicine Book, that's F-O-W-L-E-R-S. I might

 

 

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have went on the internet, I'm not sure. I used
several references. But this is an enrichment plan.

I also have another facility that I do enrichment
plans for, so I might have taken some from there as
well. And I think he had an enrichment plan too and
I think I modified it.

Q Do you remember what modifications you
made to his existing enrichment plan?

A I don't remember, but I might have used
part of his enrichment plan to do this one, if I
remember correctly.

Q Do you know if this plan for Dodger was

ever implemented?

A I assume it was. I don't know as a fact.
Q Did you --
A That was -- I think it was -- that was on

8/17/2020, yeah, I assume it was. But I don't know
for a fact.
Did you ever assess the plan?
A What do you mean by assess it?

Q Did you ever assess Tri-State's

 

 

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implementation of the plan?

A No, I have not.

Q Did you ever check it for effectiveness?

A No.

Q And do you know if this plan was varied in
any way?

A Varied in any way, is that what you said?
Varied in any way?

Q Correct.

A I don't know. I mean, it is a -- nota

black and white plan there. It's a list of
possibilities, some of them work, some of them don't
work, you know...

Q And have you ever attempted to determine
what worked and what didn't work?

A No, these recommendations and each animal
is different. I've only seen Dodger in this
facility once, you know, otherwise he was up here
with his annual exam. Dodger was the first animal I
saw from them and that's before, you know, I got

involved with helping at the zoo the rest of the

 

 

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way. And, you know, we've really only been up
there, like I said, twice. Once was to see what he
had and the other time was to work on the bears. So

these are recommendations and if I find out they
don't follow them, you know, down the road, then

obviously we'll have to have a discussion.

0 And --
A But I -- go ahead.
Q Have you ever attempted to determine

whether Dodger had adequate enrichment in his
enclosure?

A When I was up there, he had quite a few
different ropes and balls and toys. So he looked
like he was pretty content there. He had lots of
enrichment in his cage when I saw him in October.

Q And what do you mean by enrichment when
you said he had lots of enrichment in his cage?

A Well, toys, different textures of
platforms he can get on. Different levels in the
facility, different toys. I think he had some

stuffed animals too, if I recall correctly. He had

 

 

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an assortment in there.

Q Did you observe Dodger engaging with any
of the toys or the stuffed animals in a manner that
promoted typical behaviors?

A No, I didn't stay long enough to notice
anything like that. He was more interested in us
looking at him -- while we were looking at him, he
was interested in looking at us. So he wasn't
playing with anything when we were there observing
him in his cage.

Q The capuchin enrichment plan says has a
pet cat. Why does Dodger have a pet cat?

A A lot of these primates do well with a
pet, cat -- or it's usually a cat actually. But for
some reason they, just like humans I guess, they
attach pretty well to felines.

Q Do you know if the cat is vaccinated?

A I assume it is. I have not seen the cat
or that cat.

0 Has the cat been screened for

endoparasites?

 

 

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A He has a local vet for that.
Q Do you know the name of that local vet?
A No.
Q Do you know if Sebastian, the Bengal cat

is Dodger's pet cat?

A I don't believe so.

0 Is there another cat that has access to
Dodger's enclosure?

A I don't know. But I was told he had a pet
cat.

Q Under the environment section it says
within view of another primate, do you know if
Dodger is within view of another primate 12 months
out of the year?

A No, but he was going to see what he could
do about getting Spazz moved from the reptile area
to where capuchin can -- Dodger can see him. I
don't know how far he got with that.

Q Did you recommend that Mr. Candy keep
Dodger in isolation?

A No. That was never a recommendation.

 

 

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He's a pet though, so he couldn't be with other
capuchins, you know, he would not know what to do
with another capuchin. And they would definitely
fight. So he could not have been housed with
another capuchin, but having primates, human,
nonhuman, that's not always a good idea.

Q Going to the next page CAHO0014, why does
it say Gloria McFadden?

A Sorry, say again? Gloria McFadden, that's
the USDA vet.

Q And why does it say Gloria McFadden on
this document?

A I must have wrote it down for some reason,

I have no idea why.

0 But she's --

A She's the USDA vet.

Q Did you --

A I think she wanted a copy of the

enrichment plan, if I remember right. I think she
wanted a copy of the enrichment plan, maybe that's

why I have that written there.

 

 

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Q Did the USDA request blood work?

A I don't recall if they requested blood
work. But I think she did ask for the enrichment
plan.

Q Going down to CAHOO15, did you assess the

enclosure in the picture --

A No.
0 -- on 0015?
A No. I don't know what the enclosure was,

but he was trying to get a picture of the eye to see
whether or not he had a -- interactions with the TB
vaccine, the TB test, that's what that was for.
Q What enclosure did you assess of Dodger's?
A The one that he was in when we went there

on October 11th or 12th.

Q Did you assess the indoor portion of the
enclosure?

A No, we went inside, but it was too dark
and he was outside, so we did not -- I did not

assess the indoor part of it.

Q Do you know what the recommended

 

 

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temperature range is for having captive primates?

A No, not off the top of my head. And I
think it's different for different primates of
course.

Q Do you know what the recommended
temperature range is for housing a capuchin?

A No, not off the top of my head. I would
have to look that up.

Q What happens when temperatures fall
outside safe levels for primates in captivity?

A Well, the obvious is they can have
frostbite like this one did. I mean, it could be
deadly, just like with any warm-blooded mammal.

Q Do you know what changes were made to
Dodger's enclosure after he got frostbite?

A He was not supposed to let him outside
when it was below a certain temperature. I don't
know what we discussed as a certain temperature. dHe
was supposed to be kept indoors when it was below a
certain temperature, but I don't recall the number.

Q Did you verify if Mr. Candy followed your

 

 

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recommendation?

A No, I didn't verify it, but I have not had
another problem since then as far as frostbite.

Q Going down to CAHO0018, can you read the
special instructions at the bottom of this page?

A If removes bandages and is not mutilating
digits, then return five to seven days. If
mutilating digits, return immediately, because he
could destroy all of the surgery we did and cut his

bandages off and cause some damage, that's what that

says.
Q Did you ever assess Dodger's diet?
A We did discuss his diet.
Q What did you discuss?
A What he was taking, I don't recall. I

think he was giving it monkey biscuits if I recall

correctly.
Q Do you know what brand of monkey biscuits?
A No.
Q Do you recall what brand of monkey
biscuits --

 

 

 

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A No.
Q -- Mr. Candy provided to your office?
A No.

(Exhibit 109 was marked for identification.)
BY MS. GRAVES:

0 I've marked Exhibit 109. Let me know when
you can see it.

A I see it.

Q If we go down to CAHOO112 -- actually, the
next page CAHOO113, it says, "Treatment, rabies
vaccine, tetanus vaccine, and add Tums to diet for
additional calcium supplementation."

A Yes.

Q Did you recommend that Mr. Candy add Tums
to Dodger's diet?

A Yup.

Q Did you make any recommendation regarding

quantity or frequency?

A I'm sure we discussed how much to give.
Q Do you recall what you discussed?
A I don't recall off the top of my head, no,

 

 

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A Yes, yeah, we talked -- yeah. I actually

don't remember these e-mails at all, but I know we

talked.

Q And did you discuss the primate enrichment
plans?

A Yes, well, I think she wanted me to make

some and I did. And I think she got them and
thanked me for the plans. She needed them for
something. She needed them for something. I guess
for her records, I assume.

Q Was anything else discussed?

A I don't remember.

(Exhibit 113 was marked for identification.)
BY MS. GRAVES:
I've marked Exhibit 113.
It hasn't come up yet. Here it is, okay.
Do you recognize these documents?
Yes.
How are you able to recognize them?

They are records from the hospital.

Oo Ff 0 Ff DO YF DO

And what are they?

 

 

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A They are the records for Sally.
Q When did Mr. Candy first contact you about
Suzie and Sally?
A I don't recall exactly when he did it.

But he mentioned his concerns when we were there in
October. So I told him that, you know, I was not
equipped to do anything with the bears at that
point.

Q Did he mention his concern to you about

the bear's teeth in October of 2020?

A Yeah, I'm pretty sure he did, yes.
0 And what was discussed at that time?
A If I can help him with the bears and their

teeth issues.

Q And when did you first examine the bears?
A December 13th, on that date.
Q Were you aware that veterinarian Dr. Kim

Haddad brought the bears severe dental disease to
Mr. Candy's attention in September 2019?
A No.

Q Were you aware that Tri-State's previous

 

 

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veterinarian Dr. Duncan had brought the bears dental
disease to Mr. Candy's attention sometime before
September 2019?

A No.

Q Does it concern you that Mr. Candy waited
over a year and three months to address the bears
dental disease?

A Yeah, I think he had trouble getting
someone to help him with it. I don't think
Dr. Duncan was willing to do anything with the
teeth. So it may have taken him that long to get
someone to help him. So, you know, that's not good,
you know, but there's not too many vets that will
work on really old bears, you know.

Q And the bears were sedated when you

extracted their teeth, correct?

A Yes, they were anesthetized.

Q What protocol was used for this?

A It's BAM protocol.

Q And was any monitoring equipment used?

A Yeah, pulse ox because we're in the field.

 

 

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Q And were you monitoring respiratory rate?
A Yes, that's with a stethoscope. And the

pulse ox actually does percent oxygen and heart
rate. Respiratory rate was by observation and
auscultation.

Q And did you have supplemental oxygen
available?

A Yes -- well, they were on oxygen, we had a

portable oxygen unit.

Q Did you place an intervenous catheter?
A No.
Q Did you provide any post-op nonsteroidal

anti-inflammatory drugs?

A Yeah, they have Bupivacaine as a local and
the BAM is an anesthetic and analgesic protocol.
The Bupivacaine lasts up to 12 hours.

0 And aside from the BAM, were any

analgesics provided to the bears post operation?

A No.
Q Why not?
A There's no way of getting it to them.

 

 

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Q Did you perform any other diagnostics
while the bears were sedated?

A Yeah, we took some blood work and we dida
physical.

Q Did you provide any --

A And we did a fecal too. I'm sorry, go
ahead.

Q Did you provide any foot care?

A We evaluate the feet. The feet were

actually in pretty good shape that I recall.

Q Did you provide any nail care?

A Did not need any nail care.

Q Did you take a urine sample?

A No.

Q Did you get weights on the bears?

A No.

Q Why not?

A Because we didn't have a scale big enough

to weigh these guys. So it was based on their
average weight, assumed average weight.

Q And where was the dental procedure

 

 

 

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performed?

A In the enclosure.

Q Was it in the outdoor portion of the
enclosure or the indoor portion --

A One bear was done indoors and one bear was
done outdoors.

Q Did you assess the bears' enclosure?

A Yeah, I mean, we saw it.

Q Did you discuss the bears enclosure with
Mr. Candy?

A We really discussed just the water in the
enclosure, that was all.

Q What did you discuss with Mr. Candy
regarding the water?

A It was mostly just providing access to
water that was -- that they can change more
recently. And I think he made modifications

recently to the pool that they had in the middle

there.
Q Did you assess the water quality in the

pool at this visit?

 

 

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A No, but we drained it because of the --
because the animals were sedated, you know, you
don't want them falling in the water during
recovery.

Q Do you recall the color of the water at
the time of your exam?

A No.

Q And why did you make recommendations to
Mr. Candy about the water?

A Because apparently there was something
about some kind of a well that was underneath it
that was used at one time and they had some issues
with the plumbing. I don't exactly remember the
whole situation there, but there was an old like
artesian well or some kind of system. I don't
really know about plumbing, but there was a -- I
think it had a problem with drainage at one point
and he was working on it.

Q Did it have a problem with drainage at the
time of your visit in --

A It drained then, so I don't know if it's

 

 

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Supposed to drain faster or not, but it drained.

Q Did you assess the bears' diet?
A No.
Q Do you know if Tri-State makes any

adjustments to their diet in the winter?
A I don't know.
Q And was Dr. Cranfield present for the

bears' surgery?

A Yes.

0 And what was his role?

A He just was there to give me moral support
and expert support since he -- he's a really
well-known authority on zoo care. He was the head

zoo for the Baltimore Zoo when it was called the
Baltimore Zoo for -- I don't know, over 20 years.
He's been all over the world. He was in charge of
the mountain gorilla project in Africa for ten years
or so. He started it really. He trained many vets
and he's worked on lots of different bears and large
animals. And he was the one that injected the

animals with a blow dart because that's his

 

 

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Specialty. And we went to Africa together many
years ago and worked at a zoo in Niger for ten days.
And he did most of the anesthesia and I did most of
the physicals and care. And dental, and whatever
else needed to be done, blood work, fecals,
vaccinations, whatever. So he was there for moral
support and help me take care of these guys, because
I really didn't want to do that by myself. Does
that make sense?

Q Understood. If you can turn back to

Exhibit 88 that was marked in your prior deposition.

A 88?

Q Correct.

A Okay.

Q Starting on page CAHOO0126. Did you

recommend that Mr. --

A Wait a second. Okay I'm there.

Q Did you recommend that Mr. Candy start the
bears on clindamycin?

A I don't recall if I had, I would have to

check the chart.

 

 

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Q How about doxycycline?

A I don't know which antibiotic we used. I
would have to check the records, medical records.

0 If there were any antibiotics used, would
they be recorded on Exhibit 113, the medical records
of Sally?

A They should be, although it was done by
phone, so it should be on there. So do you want to
go to that one? Did I give a recommendation then?

So what Exhibit am I looking at now?

Q Exhibit 113.

A Okay.

0 Are there antibiotics recorded on this
exhibit?

A Let's see, I'm not there yet. Excede is a

long-acting antibiotic, so we gave a long-acting
antibiotic, but I'm pretty sure he started them on
antibiotic beforehand. I just don't recall what it
is. It might have been something he had there.

Q Did you examine the bears before providing

them with the antibiotic?

 

 

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nutritional program for all of the animals?

A Say that again.

Q Have you ever attempted to determine
whether the zoo has implemented an adequate
nutritional protocol for all of the animals?

A I haven't seen all of the animals yet. So
the animals I did see, most of them had, I would say
adequate, if not over nutritionalized diets. So
diets seem to be pretty reasonable for most of the
animals that I saw.

Q But you didn't assess the diets of each
Species at Tri-State, correct?

A Correct.

Q Have you attempted to determine whether
the animals housed at Tri-State are in species
appropriate social groups?

A I have not.

Q Have you attempted to determine whether
the zoo timely removed animal and food waste from
animal enclosures?

A I have not been there for that, so no.

 

 

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Q And have you attempted to determine
whether the zoo regularly cleans and sanitizes the
animal enclosures?

A I haven't witnessed that either. They
were clean when I was up there.

Q Have you attempted to determine whether
the zoo's animal husbandry practices actually comply
with the Animal Welfare Act and its implementing
regulations?

MR. YOUNG: Objection. You can answer.

I'm just objecting for the record.

THE WITNESS: Oh. Ask the question again.
BY MS. GRAVES:

Q Have you attempted to determine whether

the zoo's animal husbandry practices actually comply

with the Animal Welfare Act and its implementing

regulations?
A No.
Q Did you ever examine or treat the sheep,

goats, mini horses, donkey, geese, turkeys,

peacocks, ducks, or chickens at Tri-State?

 

 

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A I have not.
0 And how about the kinkachoos?
A Kinkachoos I have not seen yet.
Q And did you ever examine or treat the new

ball python that Tri-State acquired in 2021?

A Not to my knowledge, I don't think so.

Q And why haven't you examined all of the
Species that we just mentioned?

A That's not what I was there for and I'm
not there for the farm animals. And we are getting
to them slowly but surely, but all of this requires
time and planning and I just started working with
him, you know, in October, so it's a long process.

Q Were you aware that in 2018 one or more
goats at Tri-State presented chronic swelling of
joints and ligament issues and that at least one
goat who reportedly died in December of 2018 tested
positive for caprine arthritis and encephalitis?

A No, and I don't treat goats, so I wouldn't
know anything about that.

Q So you haven't screened any of the goats

 

 

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